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            EXHIBIT 3
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      Kyle Roche (pro hac vice)                   Tibor L. Nagy, Jr. (pro hac vice)
1
      Edward Normand (pro hac vice)               Gregory N. Wolfe (pro hac vice)
2     Joseph Delich (pro hac vice)                William LaGrange (pro hac vice)
3     Alex Potter (pro hac vice)                  Diego J. Martinez-Krippner (pro hac vice
4     Ivy T. Ngo (SBN 249860)                     forthcoming)
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13    ingo@rochefreedman.com
14
15   Counsel for Plaintiff Jeffrey Lockhart and
     Lead Plaintiff Movant Michiel Nuveen
16
     and Proposed Co-Lead Counsel for the Class
17
18                            UNITED STATES DISTRICT COURT
19                          NORTHERN DISTRICT OF CALIFORNIA
20
21
22   JEFFREY LOCKHART, Individually and On            Case No.: 3:22-cv-03461-JSC
23   Behalf of All Others Similarly Situated,
                                                      NOTICE OF WITHDRAWAL OF
24                              Plaintiff,            KYLE W. ROCHE AS COUNSEL
25
26                v.                                  Judge: Hon. Jacqueline Scott Corley
27
     BAM TRADING SERVICES INC. and BRIAN
28   SHRODER,

                                Defendants.




       NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL | 3:22-CV-03461-JSC
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1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2
3           PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”) hereby
4    notifies the Court and all parties that Mr. Roche is no longer involved in RF’s class action practice
5
6    and is therefore withdrawing as counsel of record in this case.
7
8           NOTICE IS FURTHER GIVEN THAT no further papers, pleadings, motions,
9    correspondence, communications, regarding the above-caption action, should be served on
10
11   Kyle W. Roche.      Any and all future CM/ECF notifications should remain directed towards
12
     Edward Normand, Joseph Delich, Alex Potter, and Ivy Ngo, attorneys of record for Lead Plaintiff
13
14   Jeffrey Lockhart and Lead Plaintiff Movant Michiel Nuveen.
15
16   DATED: September 1, 2022                    Respectfully Submitted,
17                                               ROCHE FREEDMAN LLP
18
19                                               /s/ Kyle W. Roche
20                                               Kyle W. Roche
21                                               99 Park Avenue, 19th Floor
                                                 New York, NY 10016
22
                                                 kyle@rochefreedman.com
23
24
                                                 Counsel for Plaintiff Jeffrey Lockhart and
25                                               Lead Plaintiff Movant Michiel Nuveen
26                                               and Proposed Co-Lead Counsel for the Class
27
28




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                                      CERTIFICATE OF SERVICE
1
2          I hereby certify that on September 1, 2022, a copy of the foregoing was filed electronically
3
4    and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
5    by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
6
7    unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
8
     access this filing through the Court’s CM/ECF System.
9
10
11
12                                                /s/ Kyle W. Roche
13                                                Kyle W. Roche
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       NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL | 3:22-CV-03461-JSC
